               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )    Criminal No. 3:11-00082
                                                   )    Judge Trauger
                                                   )
[3] FRANK DWAYNE RANDOLPH                          )

                                        ORDER

       It is hereby ORDERED that the government shall respond to the defendant’s Motion For

New Trial (Docket No. 1204) by January 11, 2013.

       It is so ORDERED.

       ENTER this 14th day of December 2012.




                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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